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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA

  DISPLAY TECHNOLOGIES, LLC,            §
                                        §
        Plaintiff,                      §             Case No: 0:19-cv-61896-KMM
                                        §
  vs.                                   §             PATENT CASE
                                        §
  INMUSIC, LLC                          §             JURY TRIAL DEMANDED
                                        §
        Defendant.                      §
  _____________________________________ §

                             UNOPPOSED MOTION TO DISMISS

         Under Federal Rule of Civil Procedure 41(a)(2), Plaintiff Display Technologies LLC

  hereby moves the Court to dismiss all of Plaintiff’s claims against InMusic, LLC WITH

  PREJUDICE with each party to bear its own attorneys’ fees and costs. Plaintiff requests that

  the Court enter the proposed order of dismissal submitted herewith.

  Dated: November 18, 2019                Respectfully submitted,

                                          /s/ Howard L. Wernow
                                          Howard L. Wernow
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                                          ATTORNEYS FOR PLAINTIFF

                              CERTIFICATE OF CONFERENCE
         I certify that the undersigned counsel conferred with counsel for Defendant and counsel
  for Defendant does not oppose this motion.

                                          /s/ Howard L. Wernow
                                          Howard L. Wernow
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                                 CERTIFICATE OF SERVICE
          The undersigned hereby certifies that on November 18, 2019, all counsel of record who
  are deemed to have consented to electronic service are being served with a copy of this document
  via the Court’s CM/ECF system.
                                          /s/ Howard L. Wernow
                                          Howard L. Wernow
